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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION


                 MINUTES OF PROCEEDINGS AND ORDER

BRIAN BEARD,                              CASE NO. 1:23-cv-2389-PAB

            Plaintiff,                    DISTRICT JUDGE
                                          PAMELA A. BARKER
      vs.
                                          MAGISTRATE JUDGE
CHISTOPHER TUNNELL, et al.,               JAMES E. GRIMES JR.

            Defendants.




 PROCEEDINGS:

        On July 12, 2024 at 2:00 p.m., I attempted to conduct an in-person Show

 Cause hearing as previously ordered. Doc. 20. Present was attorney Edmond

 Jaber on behalf of the defendants. Pro se plaintiff Brian Beard failed to appear.

 Counsel for defendants represented that they have still not been able to contact

 Plaintiff. Due to Plaintiffs’ failure to appear and show cause, the Court will

 recommend that this matter be dismissed for failure to prosecute.

        A Report and Recommendation will issue separately.


Total Time: 10 minutes
Dated: July 15, 2024




                                              /s/ James E. Grimes Jr.
                                              James E. Grimes Jr.
                                              U.S. Magistrate Judge
